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The Honorable James L. Robart

UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF WASHINGTON

 

 

AT SEATTLE
JOHNNY B. DELASHAW, JR.,
CASE NO. 2:18-cv-00537-JLR
Plaintiff,
DECLARATION OF MIKE BAKER IN
v. SUPPORT OF THE SEATTLE TIMES’
SECOND MOTION FOR SUMMARY
SEATTLE TIMES COMPANY, and ACRE
CHARLES COBBS, NOTED ON MOTION CALENDAR:
July 31, 2020
Defendants.
OSK000495 pdf
I, Mike Baker, hereby declare:
i. I am a former reporter for The Seattle Times and I make this declaration based on
personal knowledge.
Zz I researched and wrote the February 2017 article that addressed the compensation

of surgeons employed by the Swedish Neuroscience Institute (“SNI”). A true and correct copy of
that article is attached to the concurrently filed Declaration of Christopher T. Wion and was
marked as Deposition Exhibit 22.

3. In the process of reporting on the compensation plans of the doctors at SNI, I spoke
with several people with personal knowledge of the Swedish employment contracts, including SNI
founder Dr. Marc Mayberg. Attached hereto as Exhibit A is a true and correct copy of an email
from Dr. Mayberg to me regarding SNI compensation (and other subjects) dated August 5, 2016

that was offered by Dr. Delashaw’s counsel as Exhibit 220 to my deposition.

DECLARATION OF MIKE BAKER IN SUPPORT OF THE SUMMIT LAW GROUP PLLC
SEATTLE TIMES’ SECOND MOTION FOR SUMMARY 315 FIFTH AVENUE SOUTH, SUITE 1000
JUDGMENT 1 SEATTLE, WASHINGTON 98104-2682

; $ ‘ Telephone: (206) 676-7000
CASE NO. 2:18-cv-00537-JLR Fax: (206) 676-7001

 

 
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4. Attached hereto as Exhibit B is a true and correct copy of an email from Dr.
Mayberg to me regarding Dr. Delashaw’s compensation (and other subjects) dated August 9, 2016
that was offered by Dr. Delashaw’s counsel as Exhibit 221 to my deposition.

= I also spoke to other current or former SNI surgeons who agreed to speak to me
only if I would keep their identities secret.

6. In those conversations, the people described how Swedish contracts had long
revolved around production and that there had been a contentious shift in 2014 that increased the
emphasis on compensation based on production. One of the people, who was a confidential
source, also provided documents to help me understand the compensation process. Those included
emails illustrating that the contract discussions were contentious. The records also included a
spreadsheet detailing surgeon production and how the new contracts with greater emphasis on
productivity would likely alter each surgeon's compensation. That spreadsheet included Dr.
Delashaw’s production and RVU compensation rate. The documents also included a copy of a
contract with disclaimer language that Swedish surgeons would not be compensated above the
90th percentile of their industry peers unless they also produced above the 90th percentile of their
industry peers.

7. Another confidential source later provided a document from 2016 that included a
proposed salaried contract for one surgeon that would have paid him a substantial salary with the
stated objective of recognizing the doctor's “historical high productivity" -- once again
demonstrating that Swedish compensation revolved largely around rewarding surgeons for their
productivity.

8. For these reasons, we worked to fairly and accurately summarize how Swedish
doctors were "incentivized to pursue a high-volume approach with contracts that compensate them
for large patient numbers and complicated surgical techniques." We also used the information we

collected to describe the contentious contract shift that had occurred in 2014.

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9: I also reached out to the Medical Group Management Association, a trade group
advising medical professionals regarding compensation and other matters. See
https://www.mgma.cony (last visited 7/7/20). Attached as Exhibit C is a true and correct copy of
my email exchange with MGMA setting up a call to discuss how compensation works generally
with surgeons that was produced with the Bates numbers ST_0011525-26. Attached hereto as
Exhibit D is a true and correct copy of the email from David Gans of MGMA to me with the
spreadsheet on spine and neurosurgery compensation he prepared for me that was produced with
the Bates numbers ST_0011527-28. Attached hereto as Exhibit E is a true and correct copy of
further questions I asked of Mr. Gans regarding neurosurgeon compensation and his answers to
me that was produced with the Bates numbers ST_0012247-53.

10. Lalso reached out to Dr. John Romley a PhD economist and faculty member of the
Center for Health Policy and Economics at the University of Southern California. Attached as
Exhibit F is a true and correct copy of an email exchange between Dr. Romley and me following
our conversation that was produced with the Bates number ST_0012257. Dr. Romley was quoted
in the article as a source regarding physician compensation.

HH. Swedish declined to discuss the details of the SNI employment contracts with us,
saying they "do not discuss proprietary contracts." Attached hereto as Exhibit G is a true and
correct copy of the email from Mary Beth Lowell, Swedish’s Communications Director, to me
dated November 29, 2016 in which she declined to comment about the SNI contracts. This
document has been Bates numbered and produced as ST_0010827-36.

12. I reached out to Dr. Delashaw multiple times requesting an interview. He either
ignored or declined each of my requests. Attached hereto as Exhibit H, for example, is a true and
correct copy of my December 6, 2016 email to Dr. Delashaw produced by Swedish with the Bates
number SWE-E_008542-43. Dr. Delashaw forwarded my email on to the Swedish

Communications Director who advised Dr. Delashaw not to respond and to screen his calls in case

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I tried reaching him by phone. A true and correct copy of those emails are included in Exhibit H.
I never received any response to this email from Dr. Delashaw.

13. Attached hereto as Exhibit I is a true and correct copy of a February 1, 2017 e-mail
I sent to Dr. Delashaw that was produced with the Bates number ST_0012288. Dr. Delashaw
refused to be interviewed and would agree only to provide a written statement.

14. I believed (and still do believe) that all of the statements we published in the
February 2017 article regarding the SNI employment contracts were both true and fair. This was
important to us, and nothing that I learned during my reporting gave me any reason to doubt that
what we published was not true.

I declare under penalty of perjury under the laws of the State of Washington that the
foregoing is true and correct.

EXECUTED at Seattle, Washington this 8" day of July, 2020. =

A

 

Mike Baker
DECLARATION OF MIKE BAKER IN SUPPORT OF THE SUMMIT LAW GROUP PLLC
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